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                    Exhibit 5
                                Case 3:16-cr-00411-VC Document 116-5 Filed 09/19/17 Page 2 of 2
(22823 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                    8/22/17, 3)05 PM


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                                       All     Naum Morgovsky, search your mailbox                         Search Mail        Search Web          Home         N



                                   devin                 In stock lenses

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  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                    04/25/12 at 11:47 AM
                                        To Devin.Standard@janostech.com
  Archive

  Spam (42)                             Hi Devin,
                                        Pursuant to our telephone conversation, please quote ASAP for immediate delivery 1 to 5
  Trash
                                        pieces of 50mm, 100mm, and, if you can find at least 1ea. in a size between 50mm and
  Smart Views                           100mm (like 60, 70, or 75mm) 8-12 um lenses for 17 um FLIR TAU cores, 320x240 and
    Important                           640x480 (Tim Olson told me you had in stock 50 and 100mm, 640x512 which I am
                                        interested in, as well as 25, 14, and 7 mm which I don't need at this point).
    Unread
                                        Best wishes,
    Starred                             Naum Morgovsky, Hitek
    People                              Tel. 415-706-5420
    Social
    Shopping
    Travel
    Finance
    silverman
    mseymour
    bartfield
    montgomery
    seymour
    rosas
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    Sent Messages
    untitled

  Sponsored




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  Daryl Hannah Just Turned 56
  And Is Unrecognizable




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